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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     ----------------------------------------------------------------X
     CARL T. SEMENCIC,
                                         Plaintiff,                      COMPLAINT

     -against-                                                           JURY TRIAL DEMANDED


     THE COUNTY OF NASSAU;
     THE NASSAU COUNTY POLICE DEPARTMENT;
     COMMISSIONER PATRICK J. RYDER, individually
     and officially; POLICE OFFICER ROBERT B.
     McGRORY, individually and officially;
     POLICE OFFICER KENNETH J. MAGNUSON,
     individually and officially; JOHN DOE #1, individually
     and officially; THE FRANKLIN SQUARE AND
     MUNSON FIRE DEPARTMENT;
     DANIEL MALONEY, individually;
     ROBERT FINEO, individually; and
     JOHN DOE #2, individually,

                                         Defendants.
     ----------------------------------------------------------------X

             The Plaintiff, CARL T. SEMENCIC, by and through his attorney, BRIAN T.

     STAPLETON, ESQ., as and for his complaint against the Defendants named herein,

     alleges as follows:

                                              INTRODUCTION

             1.       This is an action for monetary, compensatory and punitive damages

     brought pursuant to 42 USC §§ 1983 and 1988. It seeks redress for deprivations by the

     Defendants of the constitutional rights guaranteed to the Plaintiff by state and federal

     laws, and also for the injuries and damages inflicted upon the Plaintiff by the Defendants’

     tortious conduct. The Defendants’ unconstitutional, wrongful and actionable conduct

     includes: (a) deprivations by the Defendants, acting under the color of law, of the rights,

     privileges, and immunities guaranteed to the Plaintiff by the Fourth, Fifth, Sixth and



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     Fourteenth Amendments to the United States Constitution; (b) deprivations by the

     Defendants, acting under the color of law, of the rights, privileges, and immunities

     guaranteed to the Plaintiff by Article I, Sections 8, 9, 11 and 12 of the New York State

     Constitution; and (c) false arrest, false imprisonment, illegal search and seizure, abuse of

     process, assault, battery, excessive use of force, failure to intervene, fabrication of

     evidence, malicious prosecution, intentional infliction of emotional distress, negligent

     infliction of emotional distress, and negligence.

             2.      Plaintiff alleges that co-defendants MALONEY, FINEO and DOE #2

     falsely accused and maliciously prosecuted him, causing him physical injury, emotional

     distress, loss of his firearm permit, loss of his property, and economic damages.

             3.      Plaintiff alleges that co-defendants MAGNUSON, McGRORY and DOE

     #1 illegally searched him and his home, wrongfully confiscated his property, assaulted

     him, battered him, used unreasonable and excessive force upon him, falsely accused him,

     falsely arrested him, falsely imprisoned him, and maliciously prosecuted him, all in

     violation of his constitutional and civil rights, and thereby causing him physical injury,

     emotional distress, loss of his firearm permit, loss of his property, and economic

     damages.

             4.      Co-defendants MAGNUSON, McGRORY and DOE #1 acted without

     probable cause, legal justification or any reason except an intent to deprive Plaintiff of his

     rights, and their conduct was tacitly authorized by co-defendants NASSAU COUNTY,

     NCPD and RYDER.




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             5.      Plaintiff alleges that co-defendants NASSAU COUNTY, the NCPD and

     RYDER were negligent in hiring, training, supervising and retaining MAGNUSON,

     McGRORY and DOE #1, thus leading to their illegal search of Plaintiff and his home,

     their wrongful confiscation of his property, their use of unjustified, excessive and

     unreasonable force on Plaintiff, their assault and battery of Plaintiff, their false arrest of

     the Plaintiff, their false imprisonment of the Plaintiff, and their malicious prosecution of

     Plaintiff. Plaintiff alleges that the numerous misdeeds of the co-defendants as described

     herein were undertaken solely in an attempt to justify and avoid liability for their own

     flagrantly improper and unconstitutional conduct, and to wrongfully foist all liability for

     their misconduct upon Mr. Semencic.

             6.      Plaintiff alleges that co-defendants NASSAU COUNTY, the NCPD and

     RYDER are liable for the assault of the Plaintiff, the battery of the Plaintiff, the use of

     excessive force on the Plaintiff, the illegal search of Plaintiff’s property, the wrongful

     confiscation of the Plaintiff’s property, the wrongful loss of the Plaintiff’s firearm permit,

     the false arrest of the Plaintiff, the false imprisonment of the Plaintiff and the Plaintiff’s

     malicious prosecution, because co-defendants NASSAU COUNTY, NCPD and RYDER

     have allowed NCPD officers to engage in long-standing and widespread practices of

     abusing, falsely arresting and maliciously prosecuting the citizens of Nassau County.

     Further, co-defendants NASSAU COUNTY, NCPD and RYDER have failed to properly

     investigate these abuses and discipline the officers involved. NASSAU COUNTY, the

     NCPD and RYDER have also been deliberately indifferent to the need to properly train

     NCPD officers, including McGRORY, MAGNUSON and DOE #1. As a result, NCPD

     officers (including co-defendants MAGNUSON, McGRORY and DOE #1) have been




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     and continue to be encouraged by NASSAU COUNTY, the NCPD and RYDER to

     believe that they can violate the rights of ordinary citizens like the Plaintiff with

     impunity and without fear of retribution. The repeated failure of NASSAU COUNTY,

     the NCPD and RYDER to properly train and discipline their officers (including co-

     defendants MAGNUSON, McGRORY and DOE #1), their longstanding tolerance of

     officer misconduct, and their indifference to protecting the rights of those victimized by

     NCPD officers are so deeply entrenched that they now constitute NASSAU COUNTY

     and NCPD policy.

            7.      As a result of the Defendants’ actions (or lack thereof), Plaintiff suffered

     physical pain and mental anguish, has incurred economic damages, has wrongfully been

     deprived of his physical property, has wrongfully lost his firearm permit, and has been

     forced to incur significant cost and expense.

                                  JURISDICTION AND VENUE

            8.      The jurisdiction of the Court is invoked pursuant to 28 USC §§ 1331 and

     1343(a)(3). This Court also has supplemental jurisdiction over the state and local law

     claims made herein pursuant to 28 USC § 1367(a), because these claims are so closely

     related to the federal claims that they form part of the same case or controversy.

            9.      Venue is proper in this district pursuant to 28 USC § 1391 because all of

     the material acts and injuries giving rise to this cause of action occurred within the

     Eastern District of New York. In addition, venue is proper in this district pursuant to 28

     USC § 1391 because Plaintiff resides in this district and, upon information and belief, the

     Defendants’ residences and/or principal places of business lie within this judicial district.




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                                            THE PARTIES

            10.     Plaintiff CARL T. SEMENCIC is a citizen of the United States, and a

     resident of the State of New York, the City of West Hempstead and the County of

     Nassau.

            11.     Co-defendant THE COUNTY OF NASSAU (hereinafter “NASSAU

     COUNTY”) was and is a municipal corporation existing and operating by virtue of the

     laws of New York State.

            12.     Co-defendant NASSAU COUNTY POLICE DEPARTMENT (at times

     hereinafter “the NCPD”) is a municipal agency of Nassau County with business offices

     and precinct houses located throughout the same.

            13.     Co-defendant PATRICK J. RYDER (“Ryder”) is the Commissioner of

     the NCPD. Upon information and belief, co-defendant RYDER’s residence and principal

     place of business are located in Nassau County. RYDER is being sued here in his official

     and individual capacities.

            14.     Co-defendant ROBERT B. McGRORY (“McGrory”) is a police officer

     employed by the NCPD. Upon information and belief, McGrory’s residence and

     principal place of business are located in Nassau County. McGRORY is being sued here

     in his official and individual capacities.

            15.     Co-defendant KENNETH J. MAGNUSON (“Magnuson”) is a police

     officer employed by the NCPD. Upon information and belief, Magnuson’s residence and




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     principal place of business are located in Nassau County. MAGNUSON is being sued

     here in his official and individual capacities.



            16.     Co-defendant JOHN DOE #1 (“Doe #1”) is an individual whose name

     and identity are currently unknown. Upon information and belief, DOE #1 is a police

     officer employed by the NCPD. Upon information and belief, DOE #1’s residence and

     principal place of business are located in Nassau County. DOE #1 is being sued here in

     his official and individual capacities.

            17.     Co-defendant THE FRANKLIN SQUARE AND MUNSON FIRE

     DEPARTMENT (“FSMFD”) is a firefighting agency with engine companies located

     throughout Nassau County.

            18.     Co-defendant DANIEL MALONEY (“Maloney”) is a firefighter

     employed by the Franklin Square and Munson Fire Department. Upon information and

     belief, Maloney’s residence and principal place of business are located in Nassau County.

     MALONEY is being sued here in his individual capacity.

            19.     Co-defendant ROBERT FINEO (“Fineo”) is a firefighter employed by

     the Franklin Square and Munson Fire Department. Upon information and belief, Fineo’s

     residence and principal place of business are located in Nassau County. FINEO is being

     sued here in his individual capacity.

            20.     Co-defendant JOHN DOE #2 (“Doe #2”) is an individual whose name

     and identity are currently unknown. Upon information and belief, DOE #2 is employed

     by the Franklin Square and Munson Fire Department. Upon information and belief, DOE




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     #2’s residence and principal place of business are located in Nassau County. DOE #2 is

     being sued here in his individual capacity.

                                     BACKGROUND FACTS

            21.     At all relevant times mentioned herein, co-defendants NASSAU

     COUNTY, NCPD, RYDER, MAGNUSON, McGRORY and DOE #1 were acting

     under the color of law, to wit: under the color of the statutes, laws, rules, regulations,

     ordinances, usages, customs, practices, policies and procedures of the United States, New

     York State, Nassau County and the NCPD.

            22.     At all relevant times, co-defendants NASSAU COUNTY and NCPD were

     in an employer-employee relationship with co-defendants RYDER, McGRORY,

     MAGNUSON and DOE #1.

            23.     At all relevant times, the actions of co-defendants RYDER, McGRORY,

     MAGNUSON and DOE #1 as described herein were undertaken pursuant to, and within

     the course and scope of, their employment with co-defendants NASSAU COUNTY and

     the NCPD.

            24.     At all relevant times, the actions of McGRORY, MAGNUSON and DOE

     #1 as described herein were undertaken with the consent of, knowledge of and tacit

     approval of co-defendants NASSAU COUNTY, NCPD and RYDER.

            25.     At all relevant times, co-defendant FSMFD was in an employer-employee

     relationship with co-defendants FINEO, MALONEY and DOE #2.

            26.     At all relevant times, the actions of co-defendants FINEO, MALONEY,

     and DOE #2 as described herein were undertaken pursuant to, and within the course and

     scope of, their employment with the FSMFD.




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            27.    At all relevant times, the actions of FINEO and MALONEY as described

     herein were undertaken with the knowledge of and under the direction, supervision and

     control of the FSMFD and DOE #2.

            28.    At all relevant times, the actions of co-defendants FINEO, MALONEY

     and DOE #2 as described herein were undertaken in concert with those of co-defendants

     McGRORY and MAGNUSON.

            29.    At all relevant times, the actions of co-defendants FINEO, MALONEY

     and DOE #2 as described herein were undertaken with the consent of, knowledge of, and

     tacit approval of co-defendants NASSAU COUNTY, NCPD and RYDER.

            30.    At all pertinent times co-defendant RYDER was the Commissioner of the

     NCPD. As such, RYDER was the leader of, and the ultimate decision-maker for, the

     NCPD. At all pertinent times RYDER had the authority to make and set policy binding

     upon co-defendants NASSAU COUNTY, McGRORY, MAGNUSON and DOE #1. At

     all pertinent times RYDER had management and supervisory control and authority over

     all other NCPD members named as co-defendants in this complaint.

            31.    At all pertinent times McGRORY answered directly to, and took orders

     from, co-defendants NASSAU COUNTY, NCPD and RYDER.

            32.    At all pertinent times MAGNUSON answered directly to, and took orders

     from, co-defendants NASSAU COUNTY, NCPD and RYDER.

            33.    At all pertinent times DOE #1 answered directly to, and took orders from,

     co-defendants NASSAU COUNTY, NCPD and RYDER.

            34.    At all pertinent times, NASSAU COUNTY, the NCPD, RYDER,

     McGRORY, MAGNUSON and DOE #1 were charged with the following duties:




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            a.     to uphold, protect and obey the United States Constitution and the New
                   York State Constitution;

            b.     to uphold, protect and obey the laws of the United States and the State of
                   New York;

            c.     to protect and serve the citizens of Nassau County (including the
                   Plaintiff);

            d.     to uphold and protect the constitutional rights of Nassau County citizens
                   (including the Plaintiff), and to prevent them from being victimized,
                   harassed, threatened, injured, or subject to false criminal complaints
                   and/or malicious criminal prosecutions;

            e.     to ensure that all NCPD officers uphold, protect and obey the United
                   States Constitution, the New York State Constitution, and the laws of the
                   United States and the State of New York;

            f.     to ensure that all NCPD officers protect and serve the citizens of Nassau
                   County (including the Plaintiff);

            g.     to prevent NCPD officers from violating the constitutional rights of
                   Nassau County citizens (including the Plaintiff);

            h.     to prevent NCPD officers from victimizing, harassing, threatening and/or
                   injuring Nassau County citizens (including the Plaintiff);

            i.     to prevent NCPD officers from falsely accusing Nassau County citizens
                   (including the Plaintiff) of crimes they did not commit;

            j.     to prevent NCPD officers from instigating and/or continuing false and
                   malicious prosecutions of Nassau County citizens (including the Plaintiff);

            k.     to individually refrain from victimizing, harassing, threatening and/or
                   injuring Nassau County citizens (including the Plaintiff);

            l.     to individually refrain from falsely accusing Nassau County citizens
                   (including the Plaintiff) of crimes they did not commit; and

            m.     to individually refrain from instigating and/or continuing false and
                   malicious prosecutions of Nassau County citizens (including the Plaintiff).

            35.    Upon information and belief, at all pertinent times co-defendant DOE #2

     was a “management level” firefighter employed by the Franklin Square and Munson Fire




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    Department. Upon information and belief, DOE #2 had supervisory authority and

    management control over co-defendants FINEO and MALONEY.

              36.   At all pertinent times, FINEO, MALONEY and DOE #2 were charged

    with the following duties:

              a.    to uphold, protect and obey the United States Constitution and the New
                    York State Constitution;

              b.    to uphold, protect and obey the laws of the United States and the State of
                    New York;

              c.    to individually refrain from victimizing, harassing, threatening and/or
                    injuring Nassau County citizens (including the Plaintiff);

              d.    to individually refrain from falsely accusing Nassau County citizens
                    (including the Plaintiff) of crimes they did not commit; and

              e.    to individually refrain from instigating and/or continuing false and
                    malicious prosecutions of Nassau County citizens (including the Plaintiff).

              37.   At all pertinent times discussed herein the co-defendants NASSAU

    COUNTY, NCPD, RYDER, McGRORY, MAGNUSON and DOE #1 were state

    actors.

              38.   At all pertinent times discussed herein, co-defendants MAGNUSON,

    McGRORY, FINEO and MALONEY acted as the complaining witnesses against Mr.

    Semencic in the criminal proceedings described herein, and served as the sources of

    information for the Nassau County District Attorney’s Office, supplying it with

    allegations against Mr. Semencic that they knew were misleading, false and untrue.

              39.   Prior to July 19, 2016, Mr. Semencic applied for and was granted a Nassau

    County restricted carry handgun license (license no. HG246141989). Prior to the events

    giving rise to this action, Mr. Semencic’s handgun license had never been suspended or




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    revoked. Mr. Semencic’s handgun license was in full force and effect on the evening of

    July 19, 2016.

              40.    Carl Semencic is an avid hunter and shooting sports enthusiast, and owns

    several handguns and long arms. Many of the firearms owned by Mr. Semencic are

    vintage antiques of great financial and sentimental value. All of these firearms were

    lawfully purchased years, if not decades, before July 19, 2016.

              41.    All of the firearms that were wrongfully confiscated on the evening of July

    19, 2016 were lawfully possessed by Mr. Semencic prior to and during the events of July

    19, 2016. Each and every one of the handguns owned by Mr. Semencic was properly

    listed on Mr. Semencic’s handgun license. For this reason, Mr. Semencic’s possession of

    handguns within his home on the evening of July 19, 2016 was perfectly lawful.

              42.    As a resident of Nassau County, Mr. Semencic is not required to have a

    license in order to own or possess a long arm. For this reason, Mr. Semencic’s

    possession of long arms within his home on the evening of July 19, 2016 was perfectly

    lawful.

              43.    At all times prior to and during the events described herein, when these

    firearms were not being used or transported Mr. Semencic kept all of them safely secured

    inside his home.




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                  FACTS GIVING RISE TO THE INSTANT COMPLAINT

           44.     Plaintiff Carl Semencic resides in West Hempstead, New York. Carl

    Semencic is a law-abiding citizen who has no criminal record. But for the events

    described hereinafter, Carl Semencic had never been arrested in his life.

           45.     Carl Semencic does not wish to be bothered by solicitors who come to his

    home. For this reason Mr. Semencic posted a sign on his front storm door that clearly

    and conspicuously reads “DO NOT KNOCK. NO PEDDLERS.”

           46.     This clear and impossible-to-miss sign was intentionally and purposefully

    ignored by co-defendant MALONEY on the evening of Tuesday, July 19, 2016. At

    approximately 8:00 PM on this work night, MALONEY loudly and repeatedly banged on

    Mr. Semencic’s front door as part of his door-to-door soliciting campaign for the Franklin

    Square and Munson Fire Department.

           47.     At the same time as MALONEY was disturbing Mr. Semencic in his

    home, co-defendant FINEO was nearby, also soliciting Mr. Semencic’s neighbors on

    behalf of the FSMFD.

           48.     At the time MALONEY began banging on Mr. Semencic’s front door, Mr.

    Semencic had been working in his office and was wrapping up for the night.

           49.     As he headed for his bedroom, Semencic took his unloaded Glock pistol

    from his office safe and was carrying it to his bedroom, where he was going to secure it

    in his nightstand for the night.

           50.     It was as Semencic was walking from his office to his bedroom that

    Maloney loudly and repeatedly pounded on his front door.




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           51.     Mr. Semencic opened his front door to find Maloney, standing behind the

    closed storm door, dressed in his firefighter’s uniform and seeking donations.

           52.     At all times during this encounter with Maloney, Mr. Semencic’s front

    storm door remained closed. At no time during this encounter with Maloney did Mr.

    Semencic open his front storm door or leave the inside of his home. At all times during

    this incident, Mr. Semencic and Maloney were separated by Semencic’s closed front

    storm door.

           53.     At all times during this encounter with Maloney, the gun Mr. Semencic

    was holding was unloaded: there was never a round loaded in the chamber of the pistol at

    any time.

           54.     When he opened his front door, Mr. Semencic was holding his firearm in

    his left hand, with the barrel pointed down. Mr. Semencic is right-handed and shoots

    exclusively with his right hand. Mr. Semencic pointed at the sign on his front storm door

    with his left hand and, in a clearly annoyed voice, told Maloney “go away.” He then

    abruptly and forcefully closed his front door.

           55.     Mr. Semencic never pointed his firearm at Maloney, and never stepped

    outside his house at any time, prior to slamming the door in Maloney’s face.

           56.     Upon information and belief, after Mr. Semencic closed his front door,

    MALONEY became fearful that his actions would expose him to liability. He therefore

    enlisted the aide of co-defendants FINEO and DOE #2. Acting in concert, MALONEY,

    FINEO and DOE #2 concocted a narrative that was false, untrue, and was intended solely

    to wrongfully cover-up and avoid liability for their misconduct and to wrongfully foist all




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    liability for their own misdeeds upon Mr. Semencic. Further, MALONEY, FINEO and

    DOE #2 agreed to report this false narrative to the NCPD.

           57.     Upon information and belief, the false and untrue narrative concocted by

    MALONEY, FINEO and DOE #2 was this: that Semencic had answered Maloney’s

    knock in an angry fashion on the evening of July 19, 2016; that after answering his door

    Semencic then left the inside of his home and approached Maloney on his doorstep in a

    menacing fashion and with gun in hand; that Semencic then pointed his gun at Maloney

    and threatened Maloney with harm; and that Semencic’s actions caused Maloney to flee

    the Semencic property in fear for his life.

           58.     Upon information and belief, shortly thereafter MALONEY, FINEO and

    DOE #2 did, in fact, report this false and phony narrative to the Nassau County Police

    Department.

           59.     Upon information and belief, MALONEY, FINEO and DOE #2

    manufactured this false version of events knowing full well that it was untrue. At the time

    MALONEY, FINEO and DOE #2 reported this phony version of events to the police,

    they knew - or should have known - that by falsely reporting to the police that Mr.

    Semencic had pointed a gun at MALONEY and menaced MALONEY with it they

    (MALONEY, FINEO and DOE #2) would directly cause Mr. Semencic to be arrested

    and criminally prosecuted. MALONEY, FINEO and DOE #2 also knew – or should have

    known - that by making a false report against Mr. Semencic of Menacing and Unlawful

    Firearm Use to the police, they (MALONEY, FINEO and DOE #2) would directly cause

    all of Mr. Semencic’s firearms to be confiscated and would directly cause Mr.

    Semencic’s handgun license to be suspended and revoked.




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           60.       Upon information and belief, after receiving the report made by

    MALONEY, FINEO and DOE #2, co-defendants MAGNUSON, McGRORY and DOE

    #1 responded to their location and interviewed MALONEY, FINEO and DOE #2 as to

    what had allegedly transpired. Upon information and belief, MAGNUSON, McGRORY

    and DOE #1 knew – or should have known – that the version of events recited by

    MALONEY, FINEO and DOE #2 was false and untrue. Nevertheless, MAGNUSON,

    McGRORY and other Nassau County Police officers then present (including DOE #1)

    proceeded to Mr. Semencic’s home.

           61.       After shutting his front door on Maloney, Mr. Semencic proceeded to his

    bedroom. Once there, Mr. Semencic secured his unloaded firearm his nightstand. He

    then proceeded to his den (located in the rear of his home) and started watching television

    with his wife.

           62.       A short time later, Mr. Semencic’s wife observed men, all dressed in plain

    clothes, peering through the den windows and watching them as they watched television.

    Mr. Semencic now knows that these men were Nassau County police officers. Mr.

    Semencic went to the den window to see who was outside.

           63.       Very soon thereafter, there came another series of extremely loud knocks

    on the front door. Mr. Semencic went to the front door and, just as he was opening it,

    several men (now known to be Nassau County police officers), led by co-defendants

    MAGNUSON, McGRORY and DOE #1, forced their way through Mr. Semencic’s front

    door and into his home, all without Mr. Semencic’s consent.




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           64.     At no time during this process did Magnuson, McGrory or any other

    police officer obtain or possess a warrant authorizing them to enter Mr. Semencic’s

    home, to place Mr. Semencic under arrest, or to search Mr. Semencic’s premises.

           65.     When Mr. Semencic opened his front door he was wearing only a t-shirt

    and shorts. Mr. Semencic was unarmed, was behaving peacefully and was offering up no

    resistance.

           66.     After forcing their way through Mr. Semencic’s door, MAGNUSON,

    MCGRORY and the other police officers (including Doe #1) forced Mr. Semencic back

    into his kitchen and up against his kitchen counter, violently grabbed Mr. Semencic and

    turned him around, forced his hands behind his back and then roughly placed him in

    handcuffs.

           67.     At no time during this entire process did any of the police officers present

    ask Mr. Semencic what had transpired between him and Maloney, nor did any police

    officer attempt to investigate Mr. Semencic’s version of events prior to violently

    handcuffing him and then searching his home.

           68.     As a direct and proximate result of the excessive force used by

    MAGNUSON, MCGRORY and the other police officers (including Doe #1) as described

    here, Mr. Semencic was caused to suffer physical injury to his wrists, hands, arms, and

    elbows.

           69.     At some point during this incident, a crowd of neighbors and onlookers

    had gathered outside of Mr. Semencic’s home. After roughly handcuffing Mr. Semencic

    in his kitchen, MAGNUSON, McGRORY and DOE #1 removed Mr. Semencic from his

    home, in front of this crowd and in plain view of his neighbors and others, with his hands




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    cuffed behind his back and wearing only a t-shirt and shorts. They then placed him in the

    back seat of a locked squad car that had its lights flashing. This very public “perp walk”

    caused Mr. Semencic to experience intense embarrassment, humiliation, stress, anxiety,

    frustration and anger.

           70.     After locking Mr. Semencic in the back of the car, the police officers then

    returned to the Semencic home and proceeded to search every room in the house. Mr.

    Semencic soon learned they were looking for guns. At no time during this entire process

    did Mr. Semencic give these police officers permission to enter his home, search it, or

    remove any property from it.

           71.     While Mr. Semencic was still sitting in the back of the squad car,

    MAGNUSON, McGRORY and DOE #1 came back outside and demanded that Mr.

    Semencic give them the combinations to all of his gun safes. More specifically,

    MAGNUSON, McGRORY and DOE #1 threatened Mr. Semencic that if he did not give

    them all of the safe combinations, they (Magnuson, McGrory and Doe #1) would have all

    of the safe doors broken open. Not wanting his property to be destroyed, Mr. Semencic

    acquiesced. Still in cuffs, and still in the back seat of the car, Semencic gave the police

    officers his safe combinations.

           72.     MAGNUSON, McGRORY and DOE #1 then returned to searching Mr.

    Semencic’s home, again leaving Semencic handcuffed in the back of the patrol car and in

    plain view of the crowd that had gathered there.

           73.      Some time later, MAGNUSON, McGRORY and DOE #1 again returned

    to the squad car. They informed Semencic that – even with the combination he had given

    them – they were unable to open the safe in the basement. Again, they threatened




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    Semencic that if he did not open his basement safe for them then they would have its

    front door broken open. Again, not wanting his property to be destroyed, Mr. Semencic

    acquiesced and agreed - over objection - to open the basement safe himself.

           74.      Mr. Semencic was then removed from the back seat of the squad car. At

    this time his handcuffs were removed and Mr. Semencic was escorted by two police

    officers – all in plain view of the onlooking crowd – back into his own home.

           75.     Once inside, Mr. Semencic was taken to his basement safe. There,

    surrounded and crowded by approximately five or six police officers (including

    MAGNUSON, McGRORY and DOE #1), Mr. Semencic opened his basement safe.

           76.     As soon as Mr. Semencic had cracked the safe door open, he was violently

    grabbed by the officers surrounding him and forcibly removed from the front of the safe.

    He was, again, forcefully and violently turned around and roughly placed in handcuffs.

    Once re-cuffed, Mr. Semencic was again taken out of his home in handcuffs and paraded

    in full view of the onlooking crowd into the back seat of the squad car with flashing

    lights. Once again, this very public “perp walk” caused Mr. Semencic to experience

    intense embarrassment, humiliation, stress, anxiety, frustration and anger.

           77.     Afterwards, MAGNUSON, MCGRORY and the other police officers

    (including DOE #1) removed all of Mr. Semencic’s firearms from his safes. Although

    the encounter with MALONEY involved a Glock pistol, MANGNUSON, MCGRORY

    and DOE #1 removed all of Mr. Semencic’s firearms from his home (even those that had

    nothing to do with the Maloney encounter).

           78.     At no time did Mr. Semencic give these police officers permission to

    remove his firearms from his safes.




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           79.     While MAGNUSON, MCGRORY and the other police officers (including

    DOE #1) were removing Mr. Semencic’s handguns and long guns, and before they

    removed Mr. Semencic and his firearms from his home, Mr. Semencic told them that he

    had a valid Nassau County handgun license that authorized him to possess the handguns

    they were confiscating. Mr. Semencic then showed them his handgun license. Mr.

    Semencic also explained to them that he did not need a license to possess the long arms

    that they were confiscating. MAGNUSON, MCGRORY and the other police officers

    (including DOE #1) ignored these facts and seized all of Mr. Semencic’s firearms

    nonetheless.

           80.     After all of his firearms were removed from his home, Mr. Semencic was

    taken to the Nassau County Police Department’s Fifth Precinct and was held for a period

    of time. Mr. Semencic was questioned while in custody, but without having been given

    any Miranda warnings.

           81.     Eventually, Mr. Semencic was given a Desk Appearance Ticket (“DAT”)

    that required his appearance in the Nassau County District Court, First Criminal Term, on

    August 11, 2016. The DAT charged Mr. Semencic with Menacing in the Second Degree,

    in violation of New York Penal Law § 120.14(1).

           82.     Upon information and belief, sometime after arresting Mr. Semencic and

    confiscating all of his firearms on July 19, 2016, but sometime before Mr. Semencic was

    due in criminal court on August 11, 2016 for his first appearance on the DAT,

    MAGNUSON, McGRORY and the police officers present at Mr. Semencic’s home on

    the evening of July 19, 2016 (including DOE #1) became fearful that their actions within

    Mr. Semencic’s home on the evening of July 19, 2016 would expose them to liability.




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    For this reason, MAGNUSON, McGRORY and the other police officers (including Doe

    #1) conspired and agreed to concoct a version of events that was false and untrue, and to

    then report this fake narrative to the Nassau County District Attorney.

           83.     Upon information and belief, the false narrative manufactured by

    MAGNUSON, McGRORY and the other police officers (including DOE #1) was

    intended solely to wrongfully cover-up their own misdeeds, to wrongfully avoid liability

    for them and to wrongfully foist all liability for their own misdeeds upon Mr. Semencic.

           84.     The false and phony narrative concocted by MAGNUSON, McGRORY

    and the other police officers (including Doe #1) was this: that Semencic had answered

    Maloney’s knock in an angry fashion on the evening of July 19, 2016; that Semencic then

    left the inside of his home and approached Maloney on his doorstep in a menacing

    fashion, gun in hand; that Semencic then pointed his gun at Maloney and threatened

    Maloney with harm; that Semencic’s actions caused Maloney to flee the Semencic

    property in fear for his life; that when they (i.e., MAGNUSON, McGRORY and the other

    police officers present at Mr. Semencic’s on July 19, 2016) responded to the Semencic

    home, they were met by Mr. Semencic at the front door; that Mr. Semencic then stepped

    outside of his home to speak with the officers; that at the time Semencic stepped outside

    of his house, he (Semencic) was in a deeply agitated state; that while standing outside of

    his house, Semencic displayed such degrees of anger and agitation to the officers that

    they had to force Mr. Semencic to sit down on his front stoop in an effort to get him to

    calm down; that after Mr. Semencic calmed down he (Semencic) was handcuffed and

    placed under arrest (all while still outside of his home); that Semencic was cuffed and

    placed into the back seat of a radio marked patrol; that it was only after Mr. Semencic




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    had been placed into the back of the squad car that he (Mr. Semencic) volunteered to give

    all of his firearms to the officers then present; that while sitting in the back seat of the

    radio marked patrol Mr. Semencic, voluntarily and of his own free will, agreed to open

    all of his vaults and surrender all of his firearms to the police; and that it was only after

    Mr. Semencic freely and voluntarily showed the police where all of his firearms were

    being stored that the firearms were removed from his home. [emphasis added]. Shortly

    thereafter, McGRORY and MAGNUSON did, in fact, report this false and phony

    narrative to the Nassau County District Attorney.

            85.     Upon information and belief, McGRORY, MAGNUSON and the other

    police officers (including DOE #1) manufactured this false version of events knowing

    full well that it was untrue. At the time McGRORY and MAGNUSON reported this

    phony version of events to the Nassau County District Attorney, they knew - or should

    have known - that by falsely reporting to the Nassau County District Attorney that Mr.

    Semencic had pointed a gun at MALONEY and menaced MALONEY with it, they

    would directly cause Mr. Semencic to be arrested and criminally prosecuted. McGRORY

    and MAGNUSON also knew – or should have known - that by making a false report of

    Menacing and Unlawful Firearm Use against Mr. Semencic, they would directly cause

    Mr. Semencic’s firearms to be confiscated and would directly cause Mr. Semencic’s

    handgun license to be suspended and revoked.

            86.     Upon information and belief, on or about July 19, 2016 MAGNUSON and

    McGRORY caused MALONEY and FINEO to file Supporting Depositions (i.e., written

    statements made under oath) against Mr. Semencic with the Nassau County Police

    Department. These Supporting Depositions were untrue, and they detailed and supported




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    the false narratives concocted by MALONEY, FINEO, DOE #2, MAGNUSON,

    MCGRORY, DOE #1 and the other police officers. At the time these Supporting

    Depositions were filed, MAGNUSON, McGRORY, MALONEY and FINEO knew that

    they were untrue.

           87.     Upon information and belief, on or about July 20, 2016 MAGNUSON and

    McGRORY filed Misdemeanor Informations against Mr. Semencic with the Nassau

    County District Attorney and the Nassau County District Court. These Misdemeanor

    Informations were untrue, and they detailed and supported the false narratives concocted

    by MALONEY, FINEO, DOE #2, MAGNUSON, MCGRORY, DOE #1 and the other

    police officers. At the time these Misdemeanor Informations were filed against Mr.

    Semencic by MAGNUSON and McGRORY, MAGNUSON and McGRORY knew that

    they were untrue.

           88.     As a direct and proximate result of the false reports and false filings made

    by MALONEY, FINEO, MAGNUSON and McGRORY, Mr. Semencic was formally

    charged by the Nassau County District Attorney, under Docket No. 2016NA020473, with

    the crimes of Menacing in the Second Degree (in violation of New York Penal Law §

    120.14(1)) and Criminal Possession of a Weapon in the Fourth Degree (i.e., possession of

    a dangerous weapon with intent to use the same unlawfully against another) (in violation

    of New York Penal Law § 265.01(2)). Both of these crimes are class “A” misdemeanors

    that carry a maximum penalty of up to one year in jail and/or a fine of up to one thousand

    dollars ($1,000). Criminal Possession of Weapon in the Fourth Degree is defined by

    New York Penal Law § 265.00(17) as a “serious offense,” conviction of which




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    automatically disqualifies the convict from possessing a firearm under New York Penal

    Law § 400.00(1).

           89.     As a direct and proximate result of the false reports and false filings made

    by MALONEY, FINEO, MAGNUSON and McGRORY, and being actually innocent of

    the crimes for he was accused, Mr. Semencic was forced to defend himself in the Nassau

    County District Court. This directly and proximately caused Mr. Semencic to expend

    significant amounts of time and money, as it required him to hire a criminal defense

    attorney, prepare a legal defense and make numerous appearances in Court.

           90.     This process also exacted a significant emotional toll from the Plaintiff,

    causing him to experience intense fear, embarrassment, humiliation, stress, anxiety,

    frustration and anger for the duration of his prosecution and afterwards.

           91.     Mr. Semencic’s criminal prosecution lasted from August 11, 2016 until

    May 21, 2018. During this time, Mr. Semencic made dozens of appearances in the

    Nassau County District Court with his criminal defense attorney. During the course of

    Mr. Semencic’s defense, Mr. Semencic’s criminal lawyer made several motions to

    dismiss the criminal charges against Mr. Semencic. As a direct and proximate result of

    these efforts, Mr. Semencic incurred and paid legal defense fees in excess of forty

    thousand dollars ($40,000).

           92.     Mr. Semencic’s criminal prosecution was maliciously and needlessly

    prolonged by the intentional refusal of MALONEY, FINEO, MAGNUSON and

    McGRORY to co-operate with the Nassau County District Attorney’s Office.

           93.     Despite lacking probable cause and despite having actual knowledge of

    the Plaintiff’s innocence, MALONEY, FINEO, MAGNUSON and McGRORY




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    wrongfully, intentionally and maliciously refused to notify the Nassau County District

    Attorney’s Office that Mr. Semencic’s arrest lacked probable cause, and that Mr.

    Semencic was actually innocent of their spurious charges.

           94.     Despite lacking probable cause and having actual knowledge of the

    Plaintiff’s innocence, MALONEY, FINEO, MAGNUSON and McGRORY wrongfully,

    intentionally and maliciously refused to withdraw the charges they’d falsely caused to be

    filed against Mr. Semencic.

           95.     Instead, MALONEY, FINEO, MAGNUSON and McGRORY maliciously

    and intentionally caused Mr. Semencic’s prosecution to be needlessly continued and

    prolonged. They did this by repeatedly failing to co-operate with the prosecuting

    attorney’s office when asked to do so, and by repeatedly failing to appear in court when

    required. In so doing, MALONEY, FINEO, MAGNUSON and McGRORY knew that by

    failing to voluntarily have the charges withdrawn, while at the same time refusing to co-

    operate in Mr. Semencic’s prosecution, they would needlessly extend Mr. Semencic’s

    period of prosecution, thereby causing Mr. Semencic to incur significant additional

    financial expense and emotional trauma.

           96.     On or about May 21, 2018 the criminal proceedings brought against Mr.

    Semencic in the Nassau County District Court were terminated in his favor, to wit: all

    criminal charges against Mr. Semencic were dismissed on the motions of Mr. Semencic’s

    defense attorney.

           97.     Shortly after his arrest on July 19, 2016, co-defendants MALONEY,

    FINEO, DOE #2, MAGNUSON, McGRORY and DOE #1 caused a report to be filed

    with the Nassau County Police Department Handgun License Division detailing the same




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    false narrative these same co-defendants had filed with the NCPD Nassau County District

    Attorney’s Office.

           98.      Co-defendants MALONEY, FINEO, DOE #1, MAGNUSON, McGRORY

    and DOE #1 caused this false report to be filed with the express and malicious intention

    of having Mr. Semencic’s handgun license suspended and revoked. Subsequent to the

    filing of this false report by these co-defendants, Mr. Semencic’s handgun license was in

    fact revoked.

           99.      Throughout the course of his criminal prosecution and afterwards, Mr.

    Semencic made repeated requests of the Nassau County Police Department for the return

    of all of his firearms. As of this writing, the Nassau County Police Department has

    refused to return any of Mr. Semencic’s firearms to him.

           100.     Throughout the course of his criminal prosecution and afterwards, Mr.

    Semencic made repeated requests of the Nassau County Handgun Licensing agency for

    the reinstatement of his handgun license. As of this writing, the Nassau County Handgun

    Licensing agency has refused to reinstate Mr. Semencic’s Nassau County handgun

    license.




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                                           DAMAGES

           101.    As a direct and proximate result of the actions, omissions, failures,

    breaches, usages, customs, practices, policies and procedures of the Defendants as

    described herein, Plaintiff has been caused to suffer the following injuries and damages:

           a.      Deprivation of his rights to freedom from unreasonable search and seizure
                   under the Fourth and Fourteenth Amendments to the United States
                   Constitution, as well as Article I, Section 12 of the New York State
                   Constitution;

           b.      Deprivation of his right to substantive due process of law under the
                   Fourteenth Amendment to the United States Constitution;

           c.      Deprivation of his right to the Equal Protection of laws under the
                   Fourteenth Amendment to the United States Constitution, as well as
                   Article I, Section 11 of the New York State Constitution

           d.      Physical injury;

           e.      Physical pain and suffering;

           f.      Limitations on the daily activities of living;

           g.      Damage to his reputation;

           h.      Emotional distress, trauma and suffering, including anger, fear,
                   embarrassment, humiliation, sadness, frustration, extreme inconvenience,
                   and anxiety;

           i.      Loss of liberty;

           j.      The revocation / suspension of his handgun permit;

           k.      The confiscation of his personal property, including several valuable
                   firearms;

           l.      Expenditure of significant funds to cover necessary expenses, including
                   attorney’s fees, hospital and doctor’s fees, and medical / pharmacy
                   fees; and

           m.      Economic losses.




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                                       CAUSES OF ACTION

                    AS AND FOR A FIRST CAUSE OF ACTION
            AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD, RYDER,
                      McGRORY, MAGNUSON and DOE #1
                                42 USC § 1983
                       ILLEGAL SEARCH AND SEIZURE

            102.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “101” with the same force and effect as if fully

    set forth herein.

            103.    The right to freedom from illegal search and seizure of person and

    property is guaranteed by the Fourth and Fourteenth Amendments to the United States

    Constitution, as well as Article 1, Section 12 of the New York State Constitution. As a

    citizen of the United States and the State of New York, Plaintiff is guaranteed freedom

    from unreasonable searches of his person, home and/or property by Government agents,

    as well as illegal seizures of his person and property. Deprivations of these freedoms are

    actionable under 42 USC § 1983.

            104.    On or about July 19, 2016 (and as more fully described above in the

    paragraphs designated “44” through “100”), co-defendants MAGNUSON, McGRORY

    and DOE #1, acting in concert, under the color of law, within the course and scope of

    their employment with NASSAU COUNTY and the NCPD, and according to the long-

    standing usages, customs, policies, practices and procedures of co-defendants NASSAU

    COUNTY, the NCPD and RYDER, violated the Plaintiff’s right to freedom from illegal

    search and seizure when they forced their way into the Plaintiff’s home, entered it against

    the Plaintiff’s will, confiscated all of Plaintiff’s firearms and placed Plaintiff under arrest.




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           105.    There was no basis in law or fact for MAGNUSON, McGRORY and DOE

    #1 to search Plaintiff’s home, confiscate Plaintiff’s firearms or arrest Plaintiff for

    possessing the same on the evening of July 19, 2016.

           106.    At no time did Plaintiff grant permission to MAGNUSON, McGRORY

    and DOE #1 to enter his home, search his premises, seize his property or seize his person

    on the evening of July 19, 2016.

           107.    When they entered Plaintiff’s home on the evening of July 19, 2016,

    MAGNUSON, McGRORY and DOE #1 did not possess a search warrant for the

    premises or an arrest warrant for the Plaintiff.

           108.    When they entered Plaintiff’s home on the evening of July 19, 2016,

    MAGNUSON, McGRORY and DOE #1 lacked probable cause to believe: that a crime

    had been, was being, or was about to be committed at that location; that they would find

    contraband or evidence of a crime inside the Plaintiff’s house; and/or that any such

    contraband or crime evidence was being secreted or destroyed by the Plaintiff.

           109.    When MAGNUSON, McGRORY and DOE #1 entered Plaintiff’s home

    on the evening of July 19, 2016, there were no exigent circumstances at or near that

    location. No one was in danger, or being threatened with danger, inside or around the

    Plaintiff’s house.

           110.    All of the firearms seized from within Plaintiff’s home by MAGNUSON,

    McGRORY and DOE #1 had been legally purchased by Plaintiff prior to July 19, 2016.

           111.    All of the firearms seized from within Plaintiff’s home by MAGNUSON,

    McGRORY and DOE #1 were legally possessed by the Plaintiff on July 19, 2016. On

    the evening of July 19, 2016, Plaintiff possessed a valid Nassau County Handgun




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    License. This license had never been suspended or revoked, was in full force and effect

    on July 19, 2016, and authorized Plaintiff to possess all of the handguns MAGNUSON,

    McGRORY and DOE #1 seized from within his home on that date.

           112.    Under New York State law, a license is not required to own and possess a

    long arm within one’s home or place of business. As such, Plaintiff’s possession of the

    long arms that MAGNUSON, McGRORY and DOE #1 seized from within his home on

    July 19, 2016 was perfectly lawful.

           113.    When MAGNUSON, McGRORY and DOE #1 entered his home on July

    19, 2016, Plaintiff showed them his handgun license, and explained to them that (for the

    same reasons detailed in the preceding paragraphs) he was legally entitled to possess all

    of the firearms at issue within his home. MAGNUSON, McGRORY and DOE #1

    intentionally and deliberately ignored these facts, and seized Plaintiff’s firearms and

    person nevertheless.

           114.    All of the firearms seized from within the Plaintiff’s home by

    MAGNUSON, McGRORY and DOE #1 were being safely stored (i.e., unloaded and

    locked within gun safes) at the time of their seizure.

           115.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

           116.    At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, RYDER,

    NCPD and RYDER.




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           117.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken with the

    consent of, knowledge of, and tacit approval of co-defendants NASSAU COUNTY,

    NCPD and RYDER.

           118.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-

    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “257” through “271.”

           119.    As a direct and proximate result of the actions of the co-defendants as

    described herein, Plaintiff has suffered and continues to suffer physical injury, emotional

    distress, the loss of his personal property, the loss of his handgun license and economic

    damages in excess of THREE MILLION DOLLARS ($3,000,000).

           120.    At all times mentioned herein, MAGNUSON, McGRORY and DOE #1

    acted wantonly, willfully, maliciously and/or with reckless disregard of the consequences

    of their actions. Accordingly, Plaintiff is entitled to an award of punitive damages, plus

    reasonable attorney’s fees, costs and disbursements.




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                    AS AND FOR A SECOND CAUSE OF ACTION
             AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD, RYDER,
                        McGRORY, MAGNUSON and DOE #1
                                 42 USC § 1983
                           USE OF EXCESSIVE FORCE

             121.   Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “120” with the same force and effect as if fully

    set forth herein.

             122.   The right to freedom from unreasonable search and seizure of both person

    and property is guaranteed by the Fourth and Fourteenth Amendments to the United

    States   Constitution, as well as Article 1, Section 12 of the New York State Constitution.

    These provisions prohibit the unreasonable seizures of a person, and therefore the use of

    excessive and unreasonable force by a police officer during an arrest. As a citizen of the

    United States and the State of New York, Plaintiff is guaranteed freedom from the use of

    excessive, abusive and unreasonable physical force by any police officer who might

    arrest him. Deprivation of this freedom is actionable under 42 USC § 1983.

             123.   On or about July 19, 2016 (and as more fully described in the paragraphs

    designated “44” through “100”), co-defendants MAGNUSON, McGRORY and DOE #1,

    acting in concert, under the color of law, within the course and scope of their

    employment with NASSAU COUNTY and the NCPD, and according to the long-

    standing customs, policies, practices and procedures of NASSAU COUNTY and the

    NCPD, violated the Plaintiff’s right to freedom from the use of excessive force when

    they: violently and forcefully grabbed Mr. Semencic and turned him around in his

    kitchen, threw him with great force against his kitchen counter, forced his hands behind

    his back and then roughly placed him in handcuffs; and when they violently and




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    forcefully dragged him away from his basement safe and (in his basement) again forced

    his hands behind his back and again roughly placed him in handcuffs.

           124.    There was no basis in law or fact or fact for co-defendants MAGNUSON,

    McGRORY and DOE #1 to use the excessive and unreasonable degree of force described

    herein while arresting the Plaintiff.

           125.    When MAGNUSON, McGRORY and DOE #1 seized the Plaintiff,

    Plaintiff was acting in a calm, rational and non-threatening manner.

           126.    When MAGNUSON, McGRORY and DOE #1 seized the Plaintiff,

    Plaintiff was speaking in a calm, rational and non-threatening and manner.

           127.    When MAGNUSON, McGRORY and DOE #1 seized the Plaintiff,

    Plaintiff was unarmed.

           128.    When MAGNUSON, McGRORY and DOE #1 seized the Plaintiff,

    Plaintiff posed no threat of harm to himself or others.

           129.    When MAGNUSON, McGRORY and DOE #1 seized the Plaintiff,

    Plaintiff was being co-operative, and was not attempting to flee from them.

           130.    Despite these facts, MAGNUSON, McGRORY and DOE #1

    unreasonably, wrongfully and intentionally used the excessive and abusive degree

    physical force described herein while arresting the Plaintiff.

           131.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

           132.    At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the




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    direction, supervision, and control of the co-defendants NASSAU COUNTY, NCPD and

    RYDER.

           133.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken with the

    consent and tacit approval of co-defendants NASSAU COUNTY, NCPD and RYDER.

           134.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-

    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “257” through “271.”

           135.    As a direct and proximate result of the actions of the co-defendants as

    described herein, Plaintiff has suffered and continues to suffer physical injury, emotional

    distress, the loss of his personal property, the loss of his handgun license and economic

    damages in excess of THREE MILLION DOLLARS ($3,000,000).

           136.    At all times mentioned herein, MAGNUSON, McGRORY and DOE #1

    acted wantonly, willfully, maliciously and/or with reckless disregard of the consequences

    of their actions. Accordingly, Plaintiff is entitled to an award of punitive damages, plus

    reasonable attorney’s fees, costs and disbursements.




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                    AS AND FOR A THIRD CAUSE OF ACTION
            AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD, RYDER,
                       McGRORY, MAGNUSON and DOE #1
                                42 USC § 1983
                      EQUAL PROTECTION OF THE LAWS

            137.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “136” with the same force and effect as if fully

    set forth herein.

            138.    The right to equal protection of the law is guaranteed by the Fourteenth

    Amendment to the United States Constitution, as well as Article I, Section 11 of the New

    York State Constitution. As a citizen of the United States and the State of New York,

    Plaintiff is guaranteed the equal protection of the laws, and freedom from singular, illegal

    and prejudicial treatment at the hands of the Government. Deprivation of these

    guarantees and freedoms is actionable under 42 USC § 1983.

            139.    On July 19, 2016 and thereafter, Plaintiff was a law abiding citizen and

    licensed gun owner who had committed no crime. As such, Plaintiff was similarly

    situated to all other such law abiding citizens and gun owners in that he:

            a.      had the right to be free from warrantless and illegal searches and seizures;

            b.      had the right to be free from the use of excessive force on his person by
                    State actors;

            c.      had the right to be free from being falsely imprisoned and arrested;

            d.      had the right to be free from malicious prosecutions; and

            e.      had the right to possess handguns and long guns in his home.

            140.    As more fully described above in the paragraphs designated “44” through

    “100”, on or about July 19, 2016 and continuing thereafter, co-defendants MAGNUSON,

    McGRORY and DOE #1, acting under the color of law, within the course and scope of



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    their employment with co-defendants NASSAU COUNTY, the NCPD and RYDER, and

    acting according to the long-standing customs, practices, policies and procedures of

    NASSAU COUNTY, the NCPD and RYDER, subjected the Plaintiff, or caused the

    Plaintiff to be subjected to, deprivations of his equal protection rights by:

           a.      subjecting him to an illegal search and seizure;

           b.      using excessive and unreasonable force upon his person;

           c.      wrongfully confiscating all of his firearms and refusing to return them;

           d.      unlawfully and falsely arresting and imprisoning him;

           e.      subjecting him to a false and malicious criminal prosecution;

           f.      wrongfully causing his handgun license to be revoked.

           141.    The wrongful and intentional conduct of MAGNUSON, McGRORY and

    DOE #1 in singling out the Plaintiff for disparate and retaliatory treatment was

    undertaken in furtherance of an illicit and illegal vendetta aimed at covering up and

    avoiding liability for their own misdeeds, and deprived the Plaintiff of his right to equal

    protection of the laws in violation of the United States Constitution and the New York

    State Constitution.

           142.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 as described herein were undertaken with the

    consent of, knowledge of, and tacit approval of co-defendants NASSAU COUNTY,

    NCPD and RYDER.

           143.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 as described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-




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    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “257” through “271.”

            144.    As a direct and proximate result of the actions of the co-defendants as

    described herein, Plaintiff has suffered and continues to suffer physical injury, emotional

    distress, the loss of his personal property, the loss of his handgun license and economic

    damages in excess of THREE MILLION DOLLARS ($3,000,000).

            145.    At all times mentioned herein, MAGNUSON, McGRORY and DOE #1

    acted wantonly, willfully, maliciously and/or with reckless disregard of the consequences

    of their actions. Accordingly, Plaintiff is entitled to an award of punitive damages, plus

    reasonable attorney’s fees, costs and disbursements.

                   AS AND FOR A FOURTH CAUSE OF ACTION
            AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD, RYDER,
                       McGRORY, MAGNUSON and DOE #1
                                42 USC § 1983
                           FAILURE TO INTERVENE

            146.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “145” with the same force and effect as if fully

    set forth herein.

            147.    The Due Process Clause of the Fourteenth Amendment to the United

    States Constitution guarantees against the deprivation of life, liberty or property without

    the due process of law. At its core, the concept of substantive due process is intended to

    protect against the egregious, arbitrary, and conscience-shocking exercise of government

    power. As a citizen of the United States and the State of New York, Plaintiff is entitled




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    to substantive due process. Deprivations of Plaintiff’s substantive due process rights are

    actionable under 42 USC § 1983.

           148.       Co-defendants NASSAU COUNTY, the NCPD, RYDER, MAGNUSON,

    McGRORY and DOE #1 knew - or should have known - that the illegal search of the

    Plaintiff’s home and person, the use of excessive force on the Plaintiff, the unlawful

    confiscation of the Plaintiff’s property, the false arrest and imprisonment of the Plaintiff,

    the malicious prosecution of the Plaintiff, and causing the wrongful suspension and

    revocation of the Plaintiff’s handgun license, violated the Plaintiff’s substantive Due

    Process rights.

           149.       Each of the co-defendants NASSAU COUNTY, the NCPD, RYDER,

    MAGNUSON, McGRORY and DOE #1 had the authority, ability and concurrent duty

    under 42 USC § 1983 to prevent the illegal search of the Plaintiff’s home, the use of

    excessive force on the Plaintiff, the unlawful confiscation of the Plaintiff’s property, the

    false arrest and imprisonment of the Plaintiff, the malicious prosecution of the Plaintiff,

    and the wrongful suspension and revocation of the Plaintiff’s handgun license, yet they

    neglected and refused to prevent such violations from occurring. Further, they failed to

    intervene and protect the Plaintiff by stopping these wrongful actions from continuing.

           150.       Each of the co-defendants NASSAU COUNTY, the NCPD, RYDER,

    MAGNUSON, McGRORY and DOE #1 had, and continued to have, the power to

    prevent the continued malicious prosecution of the Plaintiff, yet they all failed to prevent

    the false and fabricated criminal charges from being filed against the Plaintiff. Further,

    they have these phony and spurious withdrawn and dismissed, and they failed to protect




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    the Plaintiff from the potential penalties and fines these phony criminal charges

    threatened.

            151.     The failure of the co-defendants NASSAU COUNTY, the NCPD and

    RYDER to investigate the false charges brought by co-defendants MALONEY, FINEO,

    MAGNUSON and McGRORY and to intervene on Plaintiff’s behalf as described herein,

    and the refusal of co-defendants NASSAU COUNTY, the NCPD and RYDER to

    discipline co-defendants MAGNUSON and McGRORY for their misconduct, constitutes

    willful ignorance of the constitutional rights of the Plaintiff, and an intentional violation

    of the duty of NASSAU COUNTY, the NCPD and RYDER to protect and uphold the

    constitutional rights of the Plaintiff.

            152.     As a direct and proximate result of the failure of the co-defendants to

    intervene as described herein, Plaintiff has suffered and continues to suffer physical

    injury, emotional distress, the loss of his personal property, the loss of his handgun

    license and economic damages in excess of THREE MILLION DOLLARS ($3,000,000).

            153.     At all times mentioned herein, NASSAU COUNTY, the NCPD, RYDER,

    MAGNUSON, McGRORY and DOE #1 acted wantonly, willfully, maliciously and/or

    with reckless disregard of the consequences of their actions. Accordingly, Plaintiff is

    entitled to an award of punitive damages, plus reasonable attorney’s fees, costs and

    disbursements.




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                    AS AND FOR A FIFTH CAUSE OF ACTION
            AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD, RYDER,
                      McGRORY, MAGNUSON and DOE #1
                                42 USC § 1983
                     SUBSTANTIVE DUE PROCESS OF LAW

            154.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “153” with the same force and effect as if fully

    set forth herein.

            155.    The Due Process Clause of the Fourteenth Amendment to the United

    States Constitution guarantees against the deprivation of life, liberty or property without

    the due process of law. At its core, the concept of substantive due process is intended to

    protect against the egregious, arbitrary, and conscience-shocking exercise of government

    power. As a citizen of the United States and the State of New York, Plaintiff is entitled

    to substantive due process. Deprivations of Plaintiff’s substantive due process rights are

    actionable under 42 USC § 1983.

            156.    The Plaintiff has the constitutional rights: to due process of law; to

    freedom from illegal/unreasonable search and seizure; to freedom from the use of

    excessive force by any State actor who might attempt to arrest him; to possess a handgun

    within his own home; to freedom from unlawful arrest; to freedom from unlawful

    imprisonment; to freedom from false and malicious prosecution; and to the protections of

    the police.

            157.    At all times as described more fully above in the paragraphs designated

    “44” through “100”, the co-defendants MAGNUSON, McGRORY and DOE #1: were

    acting under the color of law; were acting within the course and scope of their

    employment with NASSAU COUNTY and the NCPD; were acting with the knowledge




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    of, and under the direction, supervision, and control of, the co-defendants NASSAU

    COUNTY, the NCPD and RYDER; were acting with the consent and tacit approval of

    the co-defendants NASSAU COUNTY, the NCPD and RYDER; and were acting

    according to the long-standing usages, customs, practices, policies and procedures of

    NASSAU COUNTY, the NCPD and RYDER.

           158.    As described more fully above in the paragraphs designated “48” through

    “104”, the co-defendants MAGNUSON, McGRORY and DOE #1 subjected the Plaintiff,

    or caused the Plaintiff to be subjected to, deprivations of his substantive due process

    rights by: illegally searching the Plaintiff’s home; illegally confiscating the Plaintiff’s

    property; using excessive and unreasonable force upon the Plaintiff; falsely and

    unlawfully imprisoning the Plaintiff; maliciously prosecuting the Plaintiff; and illegally

    and wrongfully causing the Plaintiff’s handgun license to be suspended and revoked.

           159.    The conduct of the co-defendants as described herein was intentional

    and/or undertaken with deliberate indifference to the Plaintiff’s constitutional rights.

           160.    The conduct of the co-defendants as described above was repeated,

    extended, took place over a long period of time and was undertaken in the face of actions

    that presented an obvious risk of severe consequences and extreme danger to the Plaintiff.

           161.    The conduct of the co-defendants as described above was so egregious and

    so outrageous that it can fairly be said to shock the contemporary conscience.

           162.    As a direct and proximate result of the conduct of the co-defendants as

    described herein, Plaintiff has suffered and continues to suffer physical injury, emotional

    distress, the loss of his personal property, the loss of his handgun license and economic

    damages in excess of THREE MILLION DOLLARS ($3,000,000).




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            163.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                   AS AND FOR A SIXTH CAUSE OF ACTION
          AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD and RYDER
                               42 USC § 1983
                  MUNICIPAL AND SUPERVISORY LIABILITY

            164.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “163” with the same force and effect as if fully

    set forth herein.

            165.        Prior to July 19, 2016 and since that time, the co-defendants NASSAU

    COUNTY, the NCPD and RYDER have permitted and tolerated a pattern and practice of

    unjustified, unreasonable and illegal uses of force; illegal searches and seizures; unlawful

    confiscations of property; commencements and continuations of false and malicious

    prosecutions; and other abuses of authority by police officers of the NASSAU COUNTY

    POLICE DEPARTMENT. Although such abuses by members of the NCPD were and are

    improper, the NCPD officers involved have never been seriously investigated,

    prosecuted, disciplined, or subjected to restraint by NASSAU COUNTY, the NCPD

    and/or RYDER, and such incidents were in fact covered up with official claims that the

    various abuses by members of the NCPD were justified and proper. As a result,

    NASSAU COUNTY police officers were caused and encouraged to believe by NASSAU

    COUNTY, the NCPD and RYDER that civilians could be abused by NCPD officers with

    impunity and without fear of retribution, and that such abuses would in fact be permitted

    by NASSAU COUNTY, the NCPD and RYDER.



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            166.    In addition to permitting these patterns and practice of abuses by

    members of the NCPD, co-defendants NASSAU COUNTY, the NCDP and RYDER have

    failed to maintain a proper system of investigation of all incidents of abuses by NCPD

    officers.

            167.    Co-defendants NASSAU COUNTY, the NCDP and RYDER have failed

    to respond to the continuing and urgent need to investigate, restrain, and discipline NCPD

    officers who wrongfully perpetrate such abuses. In addition, co-defendants NASSAU

    COUNTY, the NCDP and RYDER have failed to find that civilian complaints made

    against NCPD officers are founded or valid in any way.

           168.     Co-defendants NASSAU COUNTY, the NCPD and RYDER have

    maintained a system of reviewing the abuses perpetrated by NCPD officers that has

    failed to identify abuses by NCPD officers and/or subject such NCPD officers to

    discipline, closer supervision, or restraint, to such an extent that it has become the

    custom, practice, policy and procedure of NASSAU COUNTY, the NCDP and RYDER

    to tolerate all such abuses by NCPD officers.

           169.     Further, co-defendants NASSAU COUNTY, the NCPD and RYDER (all

    of whom maintain either supervisory and/or decision-making positions over NCPD

    officers) have permitted a practice of improper investigation, supervision, discipline and

    retention of abusive NCPD officers.

           170.     Co-defendants NASSAU COUNTY, NCPD and RYDER have also

    refused and failed to prosecute abusive NCPD officers (including co-defendants

    MAGNUSON, McGRORY and DOE #1); have neglected, failed, and/or delayed to

    conduct any meaningful      investigation of the circumstances surrounding the instant




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    matter; and have neglected, failed, and/or delayed to present the true and unlawful

    circumstances surrounding the Plaintiff’s illegal search, illegal seizure, false arrest, false

    imprisonment and malicious prosecution to the Nassau County District Attorney’s Office

    for appropriate handling.

           171.    Upon information and belief, the specific and systemic flaws in the review

   process maintained by co-defendants NASSAU COUNTY, the NCPD and RYDER include,

   but are not limited to, the following:

            a.     Preparing reports regarding investigations of NCPD officer abuses that
                   portray officer abuses as routine, point-by-point justifications of police
                   actions, regardless of whether such actions are justified;
            b.     NCPD officers who investigate abuses by other NCPD officers
                   systemically fail to credit testimony by non-NCPD officer witnesses, and
                   uncritically rely on reports by NCPD officers involved in the subject
                   incidents;
            c.     NCPD officers who investigate abuses by other NCPD officers fail to
                   include in their reports relevant factual information which would tend to
                   contradict the statements of the NCPD officers involved;
            d.     Supervisory NCPD officers at times issue public statements exonerating
                   NCPD officers accused of perpetrating various abuses before the
                   investigation of such abuses has been completed;
            e.     Reports in brutality cases are not reviewed for accuracy by supervisory
                   officers. Conclusions are frequently permitted to be drawn on the basis of
                   clearly incorrect or contradictory information.


            172. The foregoing acts, omissions, systemic flaws, usages, customs, practices,

    policies and procedures of the co-defendants NASSAU COUNTY, the NCPD and

    RYDER have caused NCPD officers (including co-defendants MAGNUSON,

    McGRORY and DOE #1) to believe that all abuses perpetrated by them would not be

    aggressively, honestly and properly investigated.




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           173.     Therefore, co-defendants NASSAU COUNTY, the NCPD and RYDER

    are liable to the Plaintiff under 42 USC § 1983 because they have had actual and/or

    constructive knowledge of the abuses perpetrated by NCPD officers upon innocent

    citizens in violation of the United States and New York State Constitutions, yet they have

    nevertheless maintained a meaningless procedure for reviewing complaints of misconduct

    and for investigating, disciplining and/or terminating the abusive NCPD officers involved.

           174.     As a result, NCPD officers who perpetrate abuses upon otherwise

    innocent citizens (including co-defendants MAGNUSON, McRORY and DOE #1) have

    come to rely upon the flawed practices, policies and procedures of NASSAU COUNTY,

    the NCPD and RYDER as shield behind which they can continue to abuse innocent

    citizens with impunity and without fear of retribution.

           175.     As a direct and proximate result of the flawed practices, policies and

    procedures of the co-defendants NASSAU COUNTY, the NCPD and RYDER as

    described herein, the co-defendants MANGNUSON, McGRORY and DOE #1 perpetrated

    the abuses described elsewhere in this Complaint upon the Plaintiff.

           176.    As a direct and proximate result of the flawed practices, policies and

    procedures of the co-defendants NASSAU COUNTY, the NCPD and RYDER as

    described herein, Plaintiff has suffered and continues to suffer physical injury, emotional

    distress, the loss of his personal property, the loss of his handgun license and economic

    damages in excess of THREE MILLION DOLLARS ($3,000,000).

           177.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.




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    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                 AS AND FOR A SEVENTH CAUSE OF ACTION
         AGAINST CO-DEFENDANTS NASSAU COUNTY, NCPD AND RYDER
                               42 USC § 1983
                         RESPONDEAT SUPERIOR

            178.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “177” with the same force and effect as if fully

    set forth herein.

            179.    At all relevant times, co-defendants NASSAU COUNTY, the NCPD and

    RYDER were in an employer-employee relationship with co-defendants MAGNUSON,

    McGRORY and DOE #1.

            180.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and during the course of, their

    employment with the co-defendants NASSAU COUNTY, the NCPD and RYDER.

            181.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were taken under the direction, supervision and control of co-

    defendants NASSAU COUNTY, the NCPD and RYDER and pursuant to the flawed

    customs, practices, policies and procedures promulgated and maintained by co-

    defendants NASSAU COUNTY, the NCPD and RYDER.

            182.    As a direct and proximate result of the flawed practices, policies and

    procedures of the co-defendants NASSAU COUNTY, the NCPD and RYDER as

    described herein, Plaintiff has suffered and continues to suffer physical injury, emotional

    distress, the loss of his personal property, the loss of his handgun license and economic

    damages in excess of THREE MILLION DOLLARS ($3,000,000).



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            183.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                   AS AND FOR A EIGHTH CAUSE OF ACTION
           AGAINST CO-DEFENDANTS McGRORY, MAGNUSON and DOE #1
                                 ASSAULT
                          (PENDENT STATE CLAIM)

            184.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “183” with the same force and effect as if fully

    set forth herein.

            185.    On July 19, 2016 MAGNUSON, McGRORY and DOE #1 knowingly,

    intentionally and wrongfully threatened the Plaintiff with injury and attempted to batter

    him, to wit: they violently and forcefully grabbed Mr. Semencic and turned him around in

    his kitchen, they threw him with great force against his kitchen counter, they forced his

    hands behind his back and then roughly placed him in handcuffs in his kitchen; they

    violently and forcefully dragged him away from his basement safe; and (in his basement)

    again forced his hands behind his back and again roughly placed him in handcuffs.

            186.    At all times described herein, MAGNUSON, McGRORY and DOE #1

    acted against the Plaintiff’s will and without the Plaintiff’s consent.

            187.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

            188.    At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the



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    direction, supervision, and control of the co-defendants NASSAU COUNTY, NCPD and

    RYDER.

           189.     At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken with the

    consent and tacit approval of co-defendants NASSAU COUNTY, NCPD and RYDER.

           190.     At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-

    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “257” through “271.”

           191.     As a direct and proximate result of the wrongful and intentional acts of

    MAGNUSON, McGRORY and DOE #1, the Plaintiff was placed in imminent fear of

    receiving harmful contact from MAGNUSON, McGRORY and DOE #1.

           192.     As a direct and proximate result of the unlawful actions of MAGNUSON,

    McGRORY and DOE #1 as described herein, Plaintiff has suffered and continues to

    suffer physical injury, emotional distress, the loss of his personal property, the loss of his

    handgun license and economic damages in excess of THREE MILLION DOLLARS

    ($3,000,000).

           193.     At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.




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                    AS AND FOR A NINTH CAUSE OF ACTION
           AGAINST CO-DEFENDANTS McGRORY, MAGNUSON and DOE #1
                                 BATTERY
                          (PENDENT STATE CLAIM)

            194.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “193” with the same force and effect as if fully

    set forth herein.

            195.    On July 19, 2016 co-defendants MAGNUSON, McGRORY and DOE #1

    knowingly, intentionally and wrongfully came into harmful and offensive physical

    contact with the Plaintiff, to wit: they violently and forcefully grabbed Mr. Semencic and

    turned him around in his kitchen, they threw him with great force against his kitchen

    counter, they forced his hands behind his back and then roughly placed him in handcuffs

    in his kitchen; they violently and forcefully dragged him away from his basement safe;

    and (in his basement) again forced his hands behind his back and again roughly placed

    him in handcuffs.

            196.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

            197.    At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, the NCPD

    and RYDER.

            198.    At all relevant times discussed herein the wrongful actions of co-

    defendants MAGNUSON, McGRORY and DOE #1 described herein were undertaken




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    with the consent and tacit approval of co-defendants NASSAU COUNTY, the NCPD and

    RYDER.

           199.     At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-

    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “257” through “271.”

           200.     As a direct and proximate result of the unlawful actions of MAGNUSON,

    McGRORY and DOE #1 as described herein, Plaintiff has suffered and continues to

    suffer physical injury, emotional distress, the loss of his personal property, the loss of his

    handgun license and economic damages in excess of THREE MILLION DOLLARS

    ($3,000,000).

           201.     At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.




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                    AS AND FOR A TENTH CAUSE OF ACTION
           AGAINST CO-DEFENDANTS McGRORY, MAGNUSON and DOE #1
                  FALSE ARREST AND FALSE IMPRISONMENT
                           (PENDENT STATE CLAIM)

            202.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “201” with the same force and effect as if fully

    set forth herein.

            203.    On July 19, 2016, and as more fully described in the paragraphs

    designated “44” through “100”, co-defendants MAGNUSON, McGRORY and DOE #1

    wrongfully, intentionally and maliciously confined the Plaintiff, to wit: they placed the

    Plaintiff in handcuffs, they put him in the back seat of their locked squad car, they

    transported him in a locked squad car to the NCPD Fifth Precicnt House and, once there,

    confined him in a locked cell until he was given a DAT.

            204.    At all pertinent times the Plaintiff’s confinement was involuntary and was

    effectuated against the Plaintiff’s will.

            205.    At all pertinent times Plaintiff was not merely conscious of his

    confinement, but he was acutely aware of it.

            206.    The wrongful confinement of Plaintiff by co-defendants MAGNUSON,

    McGRORY and DOE #1 as described herein was not supported by probable cause to

    believe that Plaintiff had committed a crime.

            207.    The wrongful confinement of Plaintiff by co-defendants MAGNUSON,

    McGRORY and DOE #1 described herein was not immunized from liability by any

    cognizable legal privilege.




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             208.   At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

             209.   At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, the NCPD

    and RYDER.

             210.   At all relevant times the wrongful actions of co-defendants MAGNUSON,

    McGRORY and DOE #1 as described herein were undertaken with the consent and tacit

    approval of co-defendants NASSAU COUNTY, the NCPD and RYDER.

             211.   At all relevant times the actions of co-defendants MAGNUSON,

    McGRORY and DOE #1 as described herein were undertaken pursuant to the long-

    standing customs, usages, practices, policies and procedures of the co-defendants

    NASSAU COUNTY, the NCPD and RYDER as more fully described elsewhere in this

    Complaint at the paragraphs designated as “6”, “165” through “174,” and “257” through

    “271.”

             212.   As a direct and proximate result of the unlawful actions of MAGNUSON,

    McGRORY and DOE #1 as described herein, Plaintiff has suffered and continues to

    suffer physical injury, emotional distress, the loss of his personal property, the loss of his

    handgun license and economic damages in excess of THREE MILLION DOLLARS

    ($3,000,000).

             213.   At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.




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    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                   AS AND FOR A ELEVENTH CAUSE OF ACTION
                AGAINST CO-DEFENDANTS MALONEY, FINEO, DOE #2,
                        McGRORY, MAGNUSON and DOE #1
                           MALICIOUS PROSECUTION
                            (PENDENT STATE CLAIM)

            214.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “213” with the same force and effect as if fully

    set forth herein.

            215.    On or about July 19, 2016 and continuing for some time thereafter, co-

    defendants MALONEY, FINEO, DOE #2, McGRORY, MAGNUSON and DOE #1

    knowingly, intentionally, wrongfully and maliciously caused a criminal prosecution to be

    brought against the Plaintiff, to wit: they falsely filed Supporting Depositions and

    Misdemeanor Informations with the NCPD and the Nassau County District Attorney’s

    Office accusing the Plaintiff of the crimes of Menacing in the Second Degree (in

    violation of New York Penal Law § 120.14(1)) and Criminal Possession of a Weapon in

    the Fourth Degree (i.e., possession of a dangerous weapon with intent to use the same

    unlawfully against another) (in violation of New York Penal Law § 265.01(2)).

            216.    At the time these Supporting Depositions and Misdemeanor Informations

    were filed with the NCPD and the Nassau County District Attorney’s Office,

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 knew that they

    were untrue.

            217.    When MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and

    DOE #2 filed these false Supporting Depositions and Misdemeanor Informations with the




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    NCPD and the Nassau County District Attorney’s Office, they knew - or should have

    known - that by falsely reporting to the police and the District Attorney that Mr.

    Semencic had pointed a gun at MALONEY and had menaced MALONEY with it, they

    would directly cause Mr. Semencic to be arrested and criminally prosecuted.

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 also knew – or

    should have known - that by making a false report against Mr. Semencic of Menacing

    and Unlawful Firearm Use to the police, they would directly cause all of Mr. Semencic’s

    firearms to be confiscated and would directly cause Mr. Semencic’s handgun license to

    be suspended and revoked.

           218.    As a direct consequence of these malicious actions, and being actually

    innocent of the crimes for he was accused, Plaintiff was forced to defend himself in the

    Nassau County Criminal Court. This cost the Plaintiff significant amounts of time and

    money, as it required him to hire a criminal defense attorney, prepare a legal defense and

    make numerous appearances in Court. This process also exacted a significant emotional

    toll from the Plaintiff, causing him to experience intense fear, embarrassment,

    humiliation, stress, anxiety, frustration and anger for the duration of his prosecution and

    afterwards.

           219.    At the time they arrested Plaintiff and caused charges to be filed against

    him, MAGNUSON, McGRORY and DOE #1 lacked probable cause to believe that

    Plaintiff had committed the crimes of which they were accusing him. In fact, at all times

    described herein MAGNUSON, McGRORY and DOE #1 had actual knowledge that

    Plaintiff was innocent of the charges they’d fabricated.




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            220.    Despite having actual knowledge of the Plaintiff’s innocence,

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 wrongfully,

    intentionally and maliciously refused to notify the prosecuting attorney that the Plaintiff’s

    arrest lacked probable cause, and that the Plaintiff was actually innocent of the their

    spurious charges.

            221.    Despite having actual knowledge of the Plaintiff’s innocence,

    MAGNUSON, MCGRORY, DOE #1, MALONEY, FINEO and DOE #2 wrongfully,

    intentionally and maliciously refused to withdraw the charges they’d falsely caused to be

    filed against the Plaintiff.

            222.    Instead, MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and

    DOE #2 maliciously and intentionally caused the Plaintiff’s prosecution to be continued

    and prolonged. They did this by repeatedly failing to co-operate with the prosecuting

    attorney’s office when asked to do so, and by repeatedly failing to appear in court when

    required. In so doing, MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and

    DOE #2 knew that by failing to voluntarily have the charges withdrawn, while at the

    same time refusing to co-operate in the Plaintiff’s prosecution, they would needlessly

    extend the Plaintiff’s period of prosecution, thereby causing Plaintiff to incur significant

    additional financial expense and emotional trauma.

            223.    On or about May 21, 2018 the criminal proceedings brought against Mr.

    Semencic in the Nassau County District Court were terminated in his favor, to wit: all

    criminal charges against Mr. Semencic were dismissed on the motions of Mr. Semencic’s

    defense attorney.




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           224.    At all relevant times, the wrongful actions of MALONEY, FINEO and

    DOE #2 as described herein were undertaken with the knowledge of, in co-ordination

    with, and under the direction, supervision, and control of the co-defendants NASSAU

    COUNTY, NCPD, RYDER, MAGNUSON, McGRORY and DOE #1.

           225.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

           226.    At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, NCPD and

    RYDER.

           227.    At all relevant times discussed herein the wrongful actions of co-

    defendants MAGNUSON, McGRORY and DOE #1 described herein were undertaken

    with the consent and tacit approval of co-defendants NASSAU COUNTY, NCPD and

    RYDER.

           228.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-

    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “265” through “271.”

           229.    As a direct and proximate result of the unlawful actions of MAGNUSON,

    McGRORY, DOE #1, MALONEY, FINEO and DOE #2 as described herein, Plaintiff




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    has suffered and continues to suffer physical injury, emotional distress, the loss of his

    personal property, the loss of his handgun license and economic damages in excess of

    THREE MILLION DOLLARS ($3,000,000).

            230.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                    AS AND FOR A TWELFTH CAUSE OF ACTION
                AGAINST CO-DEFENDANTS MALONEY, FINEO, DOE #2,
                        McGRORY, MAGNUSON and DOE #1
                               ABUSE OF PROCESS
                            (PENDENT STATE CLAIM)

            231.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “230” with the same force and effect as if fully

    set forth herein.

            232.    On or about July 19, 2016 and continuing for some time thereafter, co-

    defendants MALONEY, FINEO, DOE #2, McGRORY, MAGNUSON and DOE #1

    knowingly, intentionally, wrongfully and maliciously caused a criminal prosecution to be

    brought against the Plaintiff, to wit: they intentionally filed false Supporting Depositions

    and Misdemeanor Informations with the NCPD and the Nassau County District

    Attorney’s Office accusing the Plaintiff of the crimes of Menacing in the Second Degree

    (in violation of New York Penal Law § 120.14(1)) and Criminal Possession of a Weapon

    in the Fourth Degree (i.e., possession of a dangerous weapon with intent to use the same

    unlawfully against another) (in violation of New York Penal Law § 265.01(2)).




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           233.    At the time these Supporting Depositions and Misdemeanor Informations

    were filed with the NCPD and the Nassau County District Attorney’s Office,

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 knew that they

    were untrue.

           234.    When MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and

    DOE #2 filed these false Supporting Depositions and Misdemeanor Informations with the

    NCPD and the Nassau County District Attorney’s Office, they knew - or should have

    known - that by falsely reporting to the police and the District Attorney that Mr.

    Semencic had pointed a gun at MALONEY and menaced MALONEY with it they would

    directly cause Mr. Semencic to be arrested and criminally prosecuted.

           235.    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2

    also knew – or should have known - that by making a false report against Mr. Semencic

    of Menacing and Unlawful Firearm Use to the police, they would directly cause all of

    Mr. Semencic’s firearms to be confiscated and would directly cause Mr. Semencic’s

    handgun license to be suspended and revoked.

           236.    As a direct consequence of these malicious actions, and being actually

    innocent of the crimes for he was accused, Plaintiff was forced to defend himself in the

    Nassau County Criminal Court. This cost the Plaintiff significant amounts of time and

    money, as it required him to hire a criminal defense attorney, prepare a legal defense and

    make numerous appearances in Court. This process also exacted a significant emotional

    toll from the Plaintiff, causing him to experience intense fear, embarrassment,

    humiliation, stress, anxiety, frustration and anger for the duration of his prosecution and

    afterwards.




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            237.    At the time they arrested Plaintiff and caused charges to be filed against

    him, MAGNUSON, McGRORY and DOE #1 lacked probable cause to believe that

    Plaintiff had committed the crimes of which they were accusing him. In fact, at all times

    described herein MAGNUSON, McGRORY and DOE #1 had actual knowledge that

    Plaintiff was innocent of the charges they’d fabricated.

            238.    Despite having actual knowledge of the Plaintiff’s innocence,

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 wrongfully,

    intentionally and maliciously refused to notify the prosecuting attorney that the Plaintiff’s

    arrest lacked probable cause, and that the Plaintiff was actually innocent of their spurious

    charges.

            239.    Despite having actual knowledge of the Plaintiff’s innocence,

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 wrongfully,

    intentionally and maliciously refused to withdraw the charges they’d falsely caused to be

    filed against the Plaintiff.

            240.    Instead, MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and

    DOE #2 maliciously and intentionally caused the Plaintiff’s prosecution to be continued

    and prolonged. They did this by repeatedly failing to co-operate with the prosecuting

    attorney’s office when asked to do so, and by repeatedly failing to appear in court when

    required. In so doing, MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and

    DOE #2 knew that by failing to voluntarily have the charges withdrawn, while at the

    same time refusing to co-operate in the Plaintiff’s prosecution, they would needlessly

    extend the Plaintiff’s period of prosecution, thereby causing Plaintiff to incur significant

    additional financial expense and emotional trauma.




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           241.    At some point in time after July 19, 2016 the co-defendants

    MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 wrongfully and

    maliciously caused a report to be filed with the Nassau County Handgun Licensing

    Authority indicating that Plaintiff had menaced MALONEY with a firearm. Co-

    defendants MAGNUSON, McGRORY, DOE #1, MALONEY, FINEO and DOE #2 filed

    this report with the wrongful and malicious intention of permanently depriving Plaintiff

    of all of his firearms and having Plaintiff’s handgun license revoked.

           242.    At all relevant times, the wrongful actions of MALONEY, FINEO and

    DOE #2 as described herein were undertaken with the knowledge and consent of, in co-

    ordination with, and under the direction, supervision, and control of the co-defendants

    NASSAU COUNTY, NCPD, RYDER, MAGNUSON, McGRORY and DOE #1.

           243.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

           244.    At all relevant times, the wrongful actions of MAGNUSON, McGRORY

    and DOE #1 as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, NCPD and

    RYDER.

           245.    At all relevant times discussed herein the wrongful actions of co-

    defendants MAGNUSON, McGRORY and DOE #1 described herein were undertaken

    with the consent and tacit approval of co-defendants NASSAU COUNTY, NCPD and

    RYDER.




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            246.    At all relevant times discussed herein the actions of co-defendants

    MAGNUSON, McGRORY and DOE #1 described herein were undertaken pursuant to

    the long-standing customs, usages, practices, policies and procedures of the co-

    defendants NASSAU COUNTY, the NCPD and RYDER as more fully described

    elsewhere in this Complaint at the paragraphs designated as “6”, “165” through “174,”

    and “257” through “271.”

            247.    As a direct and proximate result of the unlawful actions of MAGNUSON,

    McGRORY, DOE #1, MALONEY, FINEO and DOE #2 as described herein, Plaintiff

    has suffered and continues to suffer physical injury, emotional distress, the loss of his

    personal property, the loss of his handgun license and economic damages in excess of

    THREE MILLION DOLLARS ($3,000,000).

            247.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

              AS AND FOR A THIRTEENTH CAUSE OF ACTION
      AGAINST CO-DEFENDANTS NASSAU COUNTY, THE NCPD and RYDER
             NEGLIGENT HIRING, SUPERVISION & RETENTION
                       (PENDENT STATE CLAIM)

            249.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “247” with the same force and effect as if fully

    set forth herein.

            250.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER were

    in an employer-employee relationship with MAGNUSON, McGRORY and DOE #1.




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           251.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were undertaken pursuant to, and within the course and scope of,

    their employment with NASSAU COUNTY, the NCPD and RYDER.

           252.    At all relevant times, the actions of MAGNUSON, McGRORY and DOE

    #1 as described herein were taken under the direction, supervision and control of

    NASSAU COUNTY, the NCPD and RYDER, and pursuant to the customs, practices,

    policies and procedures promulgated by NASSAU COUNTY, the NCPD and RYDER.

           253.    At all relevant times RYDER occupied a position of managerial and

    supervisory authority within the NCPD, and had management authority over and

    supervisory responsibility for MAGNUSON, McGRORY and DOE #1.

           254.    At all relevant times RYDER was ultimately responsible for implementing

    the customs, practices, policies and procedures promulgated by NASSAU COUNTY and

    the NCPD.

           255.    At all relevant times RYDER was ultimately responsible for the hiring,

    training, conduct, supervision, discipline and termination of NCPD employees (including

    MAGNUSON, McGRORY and DOE #1).

           256.    At all relevant times RYDER was ultimately responsible for upholding

    and enforcing the laws and rules of the United States, the State of New York, and the

    County of Nassau, and for ensuring that all NCPD personnel (including MAGNUSON,

    McGRORY and DOE #1) uphold and obey these same laws and rules.

           257.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER had

    actual notice of the deprivation of individual rights perpetrated not only by co-defendants




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    MAGNUSON, McGRORY and DOE #1, but also by other members of the NCPD not

    named in this Complaint.

           258.    Upon information and belief, MAGNUSON, McGRORY and DOE #1 on

    prior occasions have violated the rights of other individuals in a manner similar to the

    ones alleged herein. NASSAU COUNTY, the NCPD and RYDER were aware of each

    and every such prior violation by MAGNUSON, McGRORY and DOE #1.

           259.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER had

    constructive notice of the deprivation of individual rights perpetrated not only by

    MAGNUSON, McGRORY and DOE #1, but also by other NCPD officers not named in

    this Complaint as such deprivations are long-standing, repeated and widespread. Upon

    information and belief, it is the custom, pattern and practice of NCPD officers (including

    MAGNUSON, McGRORY and DOE #1) to violate an individual’s rights in the

    manner(s) set forth herein, and the violation of individual rights is constant and prevalent

    throughout the NCPD.

           260.    As part and parcel of this protracted and pervasive conduct, the NCPD and

    its officers utilized their actual and apparent authority over various individuals to carry

    out violations of the rights guaranteed to those individuals by the United States

    Constitution; the New York State constitution; New York’s statutes, rules and

    regulations; and New York’s common law.

           261.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER hired

    and staffed its police department with officers (including MAGNUSON, McGRORY and

    DOE #1) who were unsupervised, undisciplined, inadequately trained and wholly

    unsuited to perform as police officers.




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           262.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER hired

    or retained employees (including MAGNUSON, McGRORY and DOE #1) who abused

    their authority and were physically and verbally abusive to members of the public.

           263.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER hired

    or retained employees (including MAGNUSON, McGRORY and DOE #1) who

    retaliated against members of the public for, among other things, exercising their

    constitutional rights to speak freely, for seeking and petitioning for redress, for accessing

    the courts, for speaking out about matters of public concern and for legally possessing

    firearms.

           264.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER hired

    or retained employees (including MAGNUSON, McGRORY and DOE #1) who

    intentionally engaged in differential treatment of members of the public that was

    irrational, wholly arbitrary and motivated by the pursuit of improper personal, political

    and/or illegal goals.

           265.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER knew,

    or should have known, that its employees (including MAGNUSON, McGRORY and

    DOE #1) exhibited out of control, violent, aggressive, illegal and unconstitutional

    behavior toward members of the public.

           266.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER knew,

    or should have known, that its employees (including MAGNUSON, McGRORY and

    DOE #1) were abusing their authority to, inter alia, carry out personal or political

    vendettas against members of the public.




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           267.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER knew,

    or should have known, that staffing a police department with employees (including

    MAGNUSON, McGRORY and DOE #1) who were unsupervised, undisciplined,

    inadequately trained and wholly unsuited to interact with the public would pose an

    obvious risk that members of the public with whom these officers might interact would

    be subject to out of control, violent, aggressive, illegal and unconstitutional behavior.

           268.    Despite this knowledge, at all relevant times NASSAU COUNTY, the

    NCPD and RYDER failed to take any corrective action against these unsuitable

    employees (including MAGNUSON, McGRORY and DOE #1), failed to adopt policies

    or procedures that would have prevented the violations of individual rights alleged herein

    (including, but not limited to, providing internal discipline and additional training and

    supervision) and failed to terminate employees (including MAGNUSON, McGRORY

    and DOE #1) who were clearly unqualified and unsuited for their jobs.

           269.    At all relevant times, NASSAU COUNTY, the NCPD and RYDER knew,

    or should have known, that by failing or refusing to take corrective measures against or

    terminate unsuitable employees (including MAGNUSON, McGRORY and DOE #1) who

    were physically and verbally abusive, who retaliated against other individuals, who acted

    arbitrarily and in furtherance of personal or political vendettas, or who were

    undisciplined, inadequately trained and unsuited to engage the general public, would

    result in repeated violations of individual rights protected by the constitution, and by

    statutory and common law.

          270.     NASSAU COUNTY, the NCPD and RYDER owed the following duties

    of care to the Plaintiff: to uphold the law; to protect and safeguard the Plaintiff’s




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    constitutional rights; to prevent the Plaintiff’s constitutional rights from being violated by

    others (including by their own employees); to safeguard the Plaintiff against the criminal

    conduct of others (including the criminal conduct of their own employees); to keep the

    peace; to prevent the infliction of criminal damage and injury; to thoroughly investigate

    and properly process all allegations of criminal conduct brought to their attention; to

    apprehend and arrest all criminal wrongdoers; to ensure that their own employees are

    properly trained and disciplined; to ensure that their own employees obey the law at all

    times; and to prevent the loss of life, liberty and property.

          271.      NASSAU COUNTY, the NCPD and RYDER breached these duties to the

    Plaintiff in the following ways: by failing to properly train MAGNUSON, McGRORY

    and DOE #1; by failing to properly supervise MAGNUSON, McGRORY and DOE #1;

    by failing to properly investigate all complaints of wrongdoing and abuse made against

    MAGNUSON, McGRORY and DOE #1; by failing to properly discipline MAGNUSON,

    McGRORY and DOE #1 for all prior abuses perpetrated by them; and for failing to

    terminate the employment of MAGNUSON, McGRORY and DOE #1 despite having

    actual and constructive notice that MAGNUSON, McGRORY and DOE #1 were

    unsuitable to continue their employment as NCPD officers.

           272.     As a direct and proximate result of the negligence of NASSAU COUNTY,

    the NCDP and RYDER as described herein, Plaintiff has suffered and continues to suffer

    physical injury, emotional distress, the loss of his personal property, the loss of his

    handgun license and economic damages in excess of THREE MILLION DOLLARS

    ($3,000,000).




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            273.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

               AS AND FOR A FOURTEENTH CAUSE OF ACTION
          AGAINST CO-DEFENDANTS FINEO, MALONEY, MAGNUSON and
                               McGRORY
             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                         (PENDENT STATE CLAIM)

            274.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “273” with the same force and effect as if fully

    set forth herein.

            275.    As described above in the paragraphs designated “44” through “100”, on

    or about July 19, 2016 and continuing thereafter, co-defendants FINEO, MALONEY,

    MAGNUSON and McGRORY wrongfully and maliciously subjected the Plaintiff to, or

    caused the Plaintiff to be subjected to, the following incidents of extreme, egregious and

    outrageous conduct:

            a.      an illegal search and seizure of his home and his property;

            b.      the use of excessive and unreasonable force upon his person;

            c.      the wrongful confiscation all of his firearms and subsequent wrongful

                    refusal to return this property to him;

            d.      an unlawful arrest and a false imprisonment;

            e.      a false and malicious criminal prosecution; and

            f.      the wrongful revocation of his handgun license.




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             276.   At the time FINEO, MALONEY, MAGNUSON and McGRORY subject

    the Plaintiff to these wrongdoings, they intended to cause – or disregarded the substantial

    likelihood that their actions would cause – Mr. Semencic to experience emotional distress

    and trauma.

             277.   At all relevant times, the actions of MAGNUSON and McGRORY as

    described herein were undertaken pursuant to, and within the course and scope of, their

    employment with NASSAU COUNTY, the NCPD and RYDER.

             278.   At all relevant times, the wrongful actions of MAGNUSON and

    McGRORY as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, NCPD and

    RYDER.

             279.   At all relevant times discussed herein the wrongful actions of co-

    defendants FINEO, MALONEY, MAGNUSON and McGRORY described herein were

    undertaken with the consent and tacit approval of co-defendants NASSAU COUNTY,

    NCPD and RYDER.

             280.   At all relevant times discussed herein the actions of co-defendants

    MAGNUSON and McGRORY as described herein were undertaken pursuant to the long-

    standing customs, usages, practices, policies and procedures of the co-defendants

    NASSAU COUNTY, the NCPD and RYDER as more fully described elsewhere in this

    Complaint at the paragraphs designated as “6”, “165” through “174,” and “257” through

    “271.”




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            281.    As a direct and proximate result of the unlawful actions of MAGNUSON,

    MCGRORY, MALONEY and FINEO as described herein, Plaintiff has suffered and

    continues to suffer physical injury, emotional distress, the loss of his personal property,

    the loss of his handgun license and economic damages in excess of THREE MILLION

    DOLLARS ($3,000,000).

            282.    At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                   AS AND FOR A FIFTEENTH CAUSE OF ACTION
          AGAINST CO-DEFENDANTS FINEO, MALONEY, MAGNUSON and
                                McGRORY
              NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                         (PENDENT STATE CLAIM)

            283.    Plaintiff hereby repeats and re-alleges each and every allegation contained

    in the paragraphs designated “1” through “282” with the same force and effect as if fully

    set forth herein.

            284.    At all pertinent times discussed herein co-defendants McGRORY and

    MAGNUSON were was charged with the following legal duties: of upholding, protecting

    and obeying the United States Constitution and the New York State Constitution, and the

    laws of the United States, the State of New York, the County of Nassau and the Town of

    West Hempstead; of protecting the citizens of the State of New York, the County of

    Nassau and the Town of West Hempstead (including the Plaintiff); of ensuring that these

    same citizens are not victimized, harassed, threatened, injured, or subject to false and

    malicious criminal complaints and criminal prosecutions; of ensuring that all NCPD




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    officers uphold, protect and obey the United States Constitution and the New York State

    Constitution, and the laws of the United States, the State of New York, the County of

    Nassau and the Town of West Hempstead; of ensuring that all NCPD officers protect the

    citizens of the State of New York, the County of Nassau and the Town of West

    Hempstead (including the Plaintiff); of ensuring that all NCPD officers refrain from

    victimizing, harassing, threatening and/or injuring the citizens of the State of New York,

    the County of Nassau and the Town of West Hempstead (including the Plaintiff); of

    ensuring that all NCPD officers refrain from filing false and/or malicious criminal

    complaints against the citizens of the State of New York, the County of Nassau and the

    Town of West Hempstead (including the Plaintiff); and of refraining themselves from

    filing false and/or malicious criminal complaints against the citizens of the State of New

    York, the County of Nassau and the Town of West Hempstead (including the Plaintiff).

           285.    At all pertinent times discussed herein, co-defendants FINEO and

    MALONEY were charged with the following legal duties: of upholding, protecting and

    obeying the United States Constitution and the New York State Constitution, and the

    laws of the United States, the State of New York, the County of Nassau and the Town of

    West Hempstead; of refraining from victimizing, harassing, threatening and/or injuring

    the citizens of the State of New York, the County of Nassau and the Town of West

    Hempstead (including the Plaintiff); and of refraining from filing false and/or malicious

    criminal complaints against the citizens of the State of New York, the County of Nassau

    and the Town of West Hempstead (including the Plaintiff).

           286.    As described above in the paragraphs designated “44” through “100”, on

    or about July 19, 2016 and continuing thereafter, co-defendants FINEO, MALONEY,




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    MAGNUSON, and McGRORY violated these duties when they subjected the Plaintiff to,

    or caused the Plaintiff to be subjected to, the following outrageous incidents of

    wrongdoing:

           a.      an illegal search and seizure of his home and his property;

           b.      the use of excessive and unreasonable force upon his person;

           c.      the wrongful confiscation all of his firearms and subsequent wrongful

                   refusal to return this property to him;

           d.      an unlawful arrest and a false imprisonment;

           e.      a false and malicious criminal prosecution; and

           f.      the wrongful revocation of his handgun license.

           287.    At the time FINEO, MALONEY, MAGNUSON, and McGRORY

    subject the Plaintiff to these wrongdoings, they knew – or should have known - that their

    actions would cause Mr. Semencic to experience emotional distress and trauma.

           288.    At all relevant times, the actions of MAGNUSON and McGRORY as

    described herein were undertaken pursuant to, and within the course and scope of, their

    employment with NASSAU COUNTY, the NCPD and RYDER.

           289.    At all relevant times, the wrongful actions of MAGNUSON and

    McGRORY as described herein were undertaken with the knowledge of, and under the

    direction, supervision, and control of the co-defendants NASSAU COUNTY, NCPD and

    RYDER.

           290.    At all relevant times discussed herein the wrongful actions of co-

    defendants FINEO, MALONEY, MAGNUSON and McGRORY described herein were




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    undertaken with the consent and tacit approval of co-defendants NASSAU COUNTY,

    NCPD and RYDER.

             291.   At all relevant times discussed herein the actions of co-defendants

    MAGNUSON and McGRORY as described herein were undertaken pursuant to the long-

    standing customs, usages, practices, policies and procedures of the co-defendants

    NASSAU COUNTY, the NCPD and RYDER as more fully described elsewhere in this

    Complaint at the paragraphs designated as “6”, “165” through “174,” and “257” through

    “271.”

             292.   As a direct and proximate result of the unlawful actions of MAGNUSON,

    McGRORY, MALONEY and FINEO as described herein, Plaintiff has suffered and

    continues to suffer physical injury, emotional distress, the loss of his personal property,

    the loss of his handgun license and economic damages in excess of THREE MILLION

    DOLLARS ($3,000,000).

             293.   At all times mentioned herein, the co-defendants acted wantonly, willfully,

    maliciously and/or with reckless disregard of the consequences of their actions.

    Accordingly, Plaintiff is entitled to an award of punitive damages, plus reasonable

    attorney’s fees, costs and disbursements.

                                   JURY TRIAL DEMANDED

             294.   Plaintiff hereby demands a trial by jury on all claims and issues so triable.




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                                PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully demands judgment against the Defendants:

          a.   On the First Cause of Action in the sum of Three Million Dollars
               ($3,000,000);

          b.   On the Second Cause of Action in the sum of Three Million Dollars
               ($3,000,000);

          c.   On the Third Cause of Action in the sum of Three Million Dollars
               ($3,000,000);

          d.   On the Fourth Cause of Action in the sum of Three Million Dollars
               ($3,000,000);

          e.   On the Fifth Cause of Action in the sum of Three Million Dollars
               ($3,000,000);

          f.   On the Sixth Cause of Action in the sum of Three Million Dollars
               ($3,000,000);

          g.    On the Seventh Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          h.    On the Eighth Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          i.    On the Ninth Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          j.    On the Tenth Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          k.    On the Eleventh Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          l.    On the Twelfth Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          m.    On the Thirteenth Cause of Action in the sum of Three Million Dollars
                ($3,000,000);

          n.    On the Fourteenth Cause of Action in the sum of Three Million Dollars
                ($3,000,000);




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         o     On the Fifteenth Cause of Action in the sum of Three Million Dollars
               ($3,ooo,ooo);

         p.    Punitive damages in the sum of Five Million Dollars ($5,000,000); and

         q.    Grarting such other and further relief as to the Court seems just and
               proper.

   DATED: September 17, 2018
          White Plains, NY                   Yours, etc.,

                                             THE LAW OFFICE
                                             OF      T.                    , ESQ



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                                                             the
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